                                                       UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF WASHINGTON

 In re:                                                                       Case No.
           Allan Thomas Coles
                                                                              CHAPTER 13 PLAN

                                                                               X Original            AMENDED

                                                 Debtor(s).                   Date:   May 26, 2016



I.    Introduction:
      A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
        X Yes
           No
      B. Means Test Result. Debtor is (check one):

      X_       a below median income debtor with a 36 month applicable commitment period
      __       an above median income debtor with a 60 month applicable commitment period

1I. Plan Payments:
    No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor will commence
    making payments to the Trustee as follows:
    A. AMOUNT: $100.00 Monthly for 36 months
    B. FREQUENCY (check one):
     X Monthly
         Twice per month
         Every two weeks
         Weekly
    C. TAX REFUNDS: Debtor (check one):               COMMITS; X DOES NOT COMMIT; all tax refunds to funding the plan.
       Committed refunds shall be paid in addition to the plan payment stated above. If no selection is made, tax refunds are
       committed.
    D. PAYMENTS: Plan payments shall be deducted from the debtor's wages unless otherwise agreed to by the Trustee or ordered
       by the Court.
    E. OTHER: Debtor will remit plan payments directly.

III. Plan Duration:
     The plan’s length shall not be less than the debtor’s applicable commitment period as defined under 11 U.S.C. §§ 1322(d) and
     1325(b)(4) unless the plan either provides for payment in full of allowed unsecured claims over a shorter period or is modified
     post-confirmation. A below median debtor’s plan length shall automatically be extended up to 60 months after the first payment is
     due if necessary to complete the plan..

IV. Distribution of Plan Payments:
    Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply them accordingly,
    PROVIDED THAT disbursements for domestic support obligations and federal taxes shall be applied according to applicable
    non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
       1. Trustee. The percentage set pursuant to 28 USC §586(e).
       2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
       3. Attorney's Fees: Pre-confirmation attorney fees and/or costs and expenses are estimated to be $ 1,370.00 .
       $ 1,370.00 was paid prior to filing. To the extent pre-confirmation fees and/or costs and expenses exceed $3,500, an
       appropriate application, including a complete breakdown of time and costs, shall be filed with the Court within 21 days of
       confirmation.
       Approved attorney compensation shall be paid as follows (check one):
          a.    Prior to all creditors;
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               b. Monthly payments of $ ;
               c. All remaining funds available after designated monthly payments to the following creditors: .
               d. Other:
               If no selection is made, fees will be paid after monthly payments specified in Paragraphs IV. B and IV. C.

      B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed and allowed pursuant to 11
      USC § 502(a) or court order as follows (if left blank, no payments shall be made by the Trustee):
                       Creditor                                 Monthly amount
                       -NONE-                                   $

      C. SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed pursuant to 11 USC § 502(a)
         or court order, as stated below. Unless ranked otherwise, payments to creditors will be disbursed at the same level. Secured
         creditors shall retain their liens until the payment of the underlying debt, determined under nonbankruptcy law, or discharge
         under 11 USC § 1328, as appropriate. Secured creditors, other than creditors holing long term obligations secured only by a
         security interest in real property that is the debtor's principal residence, will be paid the principal amount of their claim or the
         value of their collateral, whichever is less, plus per annum uncompounded interest on that amount from the petition filing
         date.

            Interest rate and monthly payment in the plan control unless a creditor timely files an objection to confirmation. If a creditor
            timely files a proof of claim for an interest rate lower than that proposed in the plan, the claim shall be paid at the lower rate.
            Value of collateral stated in the proof of claim controls unless otherwise ordered following timely objection to claim. The
            unsecured portion of any claim shall be paid as a nonpriority unsecured claim unless entitled to priority by law.

            Only creditors holding allowed secured claims specified below will receive payment from the Trustee. If the interest
            rate is left blank, the applicable interest rate shall be 12%. If overall plan payments are sufficient, the Trustee may increase or
            decrease post-petition installments for ongoing mortgage payments, homeowner's dues and/or real property tax holding
            accounts based on changes in interest rates, escrow amounts, dues and/or property taxes.

            1. Continuing Payments on Claims Secured Only by Security Interest in Debtor’s Principal Residence and Non-Escrowed
            Postpetition Property Tax Holding Account (Interest included in payments at contract rate, if applicable):

 Rank           Creditor                                        Nature of Debt                Property                      Monthly Payment
                -NONE-                                                                                                      $

            2. Continuing Payments and Non-Escrowed Postpetition Property Tax Holding Account on Claims Secured by Other Real
            Property (Per annum interest as set forth below):

                                                                                                                                         Interest
 Rank           Creditor                              Nature of Debt              Property                    Monthly Payment               Rate
                -NONE-                                                                                    $

            3. Cure Payments on Mortgage/Deed of Trust/Property Tax/Homeowner’s Dues Arrearage:

                        Periodic                                                                                  Arrears to be   Interest
 Rank                   Payment            Creditor                              Property                               Cured     Rate
                $                          -NONE-                                                             $                                    %

            4. Payments on Claims Secured by Personal Property:

           a.     910 Collateral.
The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money security interest in any motor
vehicle acquired for the personal use of the debtor(s) within 910 days preceding the filing date of the petition or in other personal
property acquired within one year preceding the filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate
protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified, the
Trustee shall pay the amount stated as the "Equal Periodic Payment".




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                                                                                                               Pre-Confirmation
                          Equal                                                  Description                          Adequate
                        Periodic                                                 of                                  Protection      Interest
 Rank                   Payment            Creditor                              Collateral                            Payment       Rate
                $                          -NONE-                                                                $                                    %

            b.    Non-910 Collateral.
The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following timely objection to the
claim, for a purchase-money security interest in personal property which is non-910 collateral. Debtor stipulates that pre-confirmation
adequate protection payments shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is
specified, the Trustee shall pay the amount stated as the "Equal Periodic Payment".

                                                                                                               Pre-Confirmation
                          Equal                                            Debtor(s)     Description                  Adequate
                        Periodic                                            Value of     of                          Protection      Interest
 Rank                   Payment            Creditor                        Collateral    Collateral                    Payment       Rate
                $                          -NONE-                      $                                         $                                    %

      D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the order stated in
      11 USC § 507(a).

      E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments, the Trustee shall pay filed
      and allowed nonpriority unsecured claims as follows:

            1. Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims prior to other nonpriority
               unsecured claims as follows:

 Rank          Creditor                                     Amount of Claim       Percentage to be Paid       Reason for Special Classification
               -NONE-                                       $                                             %

            2. Other Nonpriority Unsecured Claims (check one):
                a.      100% paid to allowed nonpriority unsecured claims. OR
                b.    X Debtor shall pay at least $ 0.00 to allowed nonpriority unsecured claims over the term of the plan. Debtor
                    estimates that such creditors will receive approximately 0 % of their allowed claims.

V. Secured Property Surrendered:
   The secured property described below will be surrendered to the following named creditors on confirmation. Upon confirmation,
   all creditors (including successors and assigns) to which the debtor is surrendering property pursuant to this section are granted
   relief from the automatic stay to enforce their security interest against the property including taking possession and sale.

 Creditor                                                                               Property to be Surrendered


VI. Executory Contracts and Leases:
    The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below. Assumption will be by
    separate motion and order, and any cure and/or continuing payments will be paid directly by the debtor under Section VII, unless
    otherwise specified in Section XII with language designating that payments will be made by the Trustee, the amount and
    frequency of the payments, the ranking level for such payments with regard to other creditors, the length of the term for
    continuing payments and the interest rate, if any, for cure payments. Any executory contract or unexpired lease not assumed
    pursuant to 11 USC § 365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed
    and allowed unsecured claim for damages shall be paid under Section IV.E.2.

 Contract/Lease                                                                         Assumed or Rejected
 -NONE-

VII.Payments to be made by Debtor and not by the Trustee:
    The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding order,
    and shall receive no payments from the Trustee. (Payment stated shall not bind any party)
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      A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic support obligations shall be
      paid directly by the debtor as follows:

 Creditor                                                            Current Monthly Support Obligation       Monthly Arrearage Payment
 -NONE-                                                              $                                        $

      B. OTHER DIRECT PAYMENTS:

 Creditor                                                Nature of Debt                           Amount of Claim      Monthly Payment
 -NONE-                                                                                           $                    $

VIII. Property of the Estate
Property of the estate is defined in 11 USC § 1306(a). Unless otherwise ordered by the Court, property of the estate in possession of
the debtor on the petition date shall vest in the debtor upon confirmation. However, the debtor shall not lease, sell, encumber, transfer
or otherwise dispose of any interest in real property or personal property without the Court’s prior approval, except that the debtor
may dispose of unencumbered personal property with a value of $10,000.00 or less without the Court’s approval. Property (including,
but not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the debtor post-petition shall vest in the Trustee and be
property of the estate. The debtor shall promptly notify the Trustee if the debtor becomes entitled to receive a distribution of money or
other property (including, but not limited to, bonuses, inheritances, tax refunds or any claim) whose value exceeds $2,500.00, unless
the plan elsewhere specifically provides for the debtor to retain the money or property.

IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
    The liquidation value of the estate is $ 0.00 . In order to obtain a discharge, the debtor must pay the liquidation value or the total
    of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 USC §§ 1325(a)(4) and 726(a)(5), interest on
    allowed unsecured claims under Section IV.D and IV.E shall be paid at the rate of % per annum from the petition filing date
    (no interest shall be paid if left blank).

X. Other Plan Provisions:
   A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and priority unsecured creditors are
   paid in full, provided that no claim shall be paid before it is due.
   B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured creditor are current, subject
   to the creditor’s rights under state law if the case is dismissed.
   C. The holder of a secured claim shall file and serve on the Trustee, debtor and debtor’s counsel a notice itemizing all fees,
   expenses or charges (1) that were incurred in connection with the claim after the bankruptcy case was filed , and (2) that the
   holder asserts are recoverable against the debtor or the debtor’s principal residence. The notice shall be served within 180 days
   after the date on which the fees, expenses or charges are incurred, per Fed. R. Bankr. P. 3002.1(c).
   D. Mortgage creditors shall file and serve on the Trustee, debtor and debtor’s counsel a notice of any change in the regular
   monthly payment amount, including any change that results from an interest rate or escrow adjustment, no later than 21 days
   before a payment in the new amount is due, per Fed. R. Bankr. P. 3002.1(b).
   E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other information provided in
   this section shall not be a violation of the 11 USC § 362 automatic stay or of privacy laws.




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XI. Certification:
    A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the date of this plan and
        will be paid in full at the time of the confirmation hearing. Debtor acknowledges that timely payment of such post-petition
        Domestic Support Obligations is a condition of plan confirmation pursuant to 11 USC § 1325(a)(8).
    B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not alter the provisions of
        Local Bankruptcy Form 13-4, except as provided in Section XII below. Any revisions to the form plan not set forth in
        Section XII shall not be effective.

XII.Additional Case-Specific Provisions: (must be separately numbered)

      1. The property located at 3501 Skylark Loop, Bellingham, Washington shall be listed for sale. If a sale on the property
      has not been completed by December 31, 2016, the debtor shall surrender the property.


 /s/ Steven C. Hathaway                               /s/ Allan Thomas Coles                xxx-xx-9461                 May 26, 2016
 Steven C. Hathaway                                   Allan Thomas Coles                    Last 4 digits SS#                      Date
 Attorney for Debtor(s)                               DEBTOR

 May 26, 2016
 Date                                                 DEBTOR                                Last 4 digits SS#                      Date




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